                         IN THE U.S. DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE

TRAVELERS CASUALTY AND                        )
SURETY COMPANY OF AMERICA                     )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )        No. __________
                                              )        (Jury Demand)
CHANGE HEALTHCARE, INC.,                      )
UNITEDHEALTH GROUP, INC., and                 )
OPTUM, INC.                                   )
                                              )
       Defendants.                            )


                                          COMPLAINT


       Plaintiff Travelers Casualty and Surety Company of America (“Travelers”), as subrogee

and assignee of J&B Medical Supply Company, Inc. (“J&B”) by and through counsel, states the

following for its Complaint against Defendants Change Healthcare, Inc. (“Change”), UnitedHealth

Group, Inc. (“UnitedHealth”), and Optum, Inc. (“Optum”) (collectively “Defendants”).

                                            PARTIES

       1.      Travelers is a corporation organized and existing under the laws of the State of

Connecticut with its principal place of business in Hartford, Connecticut. Travelers is a citizen of

the State of Connecticut for purposes of diversity jurisdiction under 28 U.S.C. § 1332(a).

       2.      Change is a corporation organized and existing under the laws of the state of

Delaware with its principal place of business in Nashville, Tennessee. Change is a citizen of the

State of Tennessee for purposes of diversity jurisdiction under 28 U.S.C. § 1332(a).

       3.      UnitedHealth is a Delaware corporation with its principal place of business in


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Minnetonka, Minnesota. UnitedHealth Group operates and maintains several offices in

Tennessee, including in Brentwood, Lenoir City, Kingston, Maryville, Columbia, Cordova,

Smyrna, Gallatin, and Nashville. UnitedHealth owns Change and Optum.

        4.      Optum is a Delaware Corporation with its principal place of business in Eden

Prairie, Minnesota. Optum is a subsidiary of UnitedHealth, and Change is a part of Optum.

                                      JURISDICTION AND VENUE

        5.      This Honorable Court possess subject matter jurisdiction over this Complaint

pursuant to 28 U.S.C. § 1332(a) because the matter in controversy exceeds the sum or value of

$75,000.00, exclusive of interest and costs, and the matter in controversy is between citizens of

different states.

        6.      Venue is proper in the United States District Court for the Middle District of

Tennessee pursuant to 28 U.S.C. § 1391, because the Change is a resident of the State of

Tennessee and resides in the Middle District of Tennessee.

                                       FACTUAL ALLEGATIONS

        A.      Travelers Is the Subrogee and Assignee of J&B

        7.      Travelers is an insurance company that provides insurance coverage to (among

others) services health care providers and businesses in the medical industry.

        8.      Travelers issued Wrap+ CyberRisk Policy No. 107847335 (the “Policy”) on

behalf of its insured, J&B, a medical supplier, based in Wixom, Michigan.

        9.      Travelers is the subrogee and successor to the interests of J&B regarding the

events described herein by virtue of subrogation and assignment, as discussed below.

        10.     The Policy provides a coverage limit of $5,000,000 for Computer Legal Experts

and Privacy Notification expenses, subject to $50,000 retention. The Policy also provides for



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$5,000,000 in Dependent Business Interruption. The Policy’s aggregate limit is $5,000,000.

       11.     J&B is a medical supply provider based in Wixom, Michigan. It has

approximately 600 employees and 200 subcontractors.

       12.     J&B contracted with Change for its Assurance Plus Subscription, Assurance Plus

Paper Claim, Assurance Plus HCDirect Original, and Acuity Revenue Cycle Analytics Assurance

Module services (the “Change Services”). Such services are a necessary part of J&B’s day-to-

day operations.

       13.     On February 21, 2024, J&B encountered a major disruption to its operations when

it was unable to access features, services, and processes provided as part of the Change Services.



       B.      The Change Data Breach

       14.     UnitedHealth is the largest healthcare insurer in the United States, and the fifth

largest company in the United States. UnitedHealth reaches 152 million individuals across all

facets of its business, from insurance to physical practice, to home health, and pharmacy. In 2023

alone, UnitedHealth generated $324 billion in revenue.

       15.     Optum is a healthcare service provider with business interests encompassing

technology and related services, pharmacy care services, and various direct healthcare benefits.

Optum has been a subsidiary of UnitedHealth since 2011. After Change was purchased by

UnitedHealth, Change became a part of Optum.

       16.     Change is a Tennessee based healthcare company that provides payment and

revenue cycle services, clinical and imaging services, and other services to its clients. Change

operates one of largest healthcare technology companies in the United States, processing 50% of

medical claims in the United States for approximately 900,000 physicians, 33,000 pharmacies,



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5,500 hospitals, and 600 laboratories. 1 Change processes 15 billion healthcare transactions a year

and is involved in one of every three patient records. 2

       17.     In order to provide these services, Change acquires, collects, and stores its client

healthcare providers’ patients’ PII and PHI, which includes patient names, contact information,

healthcare insurance information, medical records, dental records, payment records, and social

security numbers.

       18.     Defendants are aware of its critical responsibility to safeguard this sensitive

information and the need to implement effective cyber security measures to prevent the

information’s theft. Defendants thus assumed equitable and legal duties to safeguard and keep

patients’ PII and PHI confidential and use the information purely for business purposes.

       19.     Change acknowledged and understood its duties and responsibilities, promising

that “Change Healthcare is committed to the privacy and security of healthcare data and meets or

exceeds HIPAA Privacy and Security Rule requirements.” 3

       20.     Despite the imposition of these duties, Defendants failed to implement reasonable

data security measures to protect patient information and its computer systems and services upon

which J&B relied.

       21.     On February 21, 2024, Defendants failed to prevent a cyberattack perpetrated by

the ransomware group “ALPHV/BlackCat” affecting a number of their systems and services. The

cyberattack infiltrated Defendants’ inadequately protected network and accessed highly sensitive


1
  US health departments open probe into UnitedHealth hack, Reuters (Mar. 13, 2024)
https://www.reuters.com/technology/cybersecurity/hhs-opens-probe-into-hack-unitedhealth-unit-
2024-03-13/ (last accessed June 28, 2024).
2
  Letter to Health Care Leaders on Cyberattack on Change Healthcare, U.S. Department of Health
and Human Services (Mar. 10, 2024), https://www.hhs.gov/about/news/2024/03/10/letter-to-health-
care-leaders-on-cyberattack-on-change-healthcare.html (last accessed June 28, 2024).
3
  Privacy And Security, Change Healthcare, https://support.changehealthcare.com/customer-
resources/hipaa-simplified/privacy-security ((last accessed June 28, 2024).
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information which was unprotected (the “Data Breach”).

       22.     Ransomware attacks encrypt a target’s computer systems in a manner that

prevents the target from gaining access to their material, unless a ransom is paid in return for the

passcode required to decrypt the system. Such an attack is a common form of cyberattack, one

that Defendants should have anticipated it would be threatened with, especially due to the types

of valuable information in its possession.

       23.     The ransomware group was in the company’s networks for more than a week

before they launched the ransomware attack. 4

       24.     Andrew Witty, the CEO of UnitedHealth, stated that the Change cyberattack,

which disrupted healthcare systems nationwide, started when hackers entered a server that lacked

a basic form of security: multi-factor authentication. 5

       25.     Multi-factor authentication is a simple security measure that can be implemented

in a matter of days or weeks, as is demonstrated by the speed at which Defendants implemented

multi-factor authentication after discovering the Data Breach.

       26.     In response to the Data Breach, Defendants pulled the suspended operations and

use of all of their online systems to prevent further impact rather than keep unaffected systems

operational. As a result of Defendants’ choice to disconnect its systems, J&B was unable to access

or utilize any of the Change Services, including benefits verification, claims submissions, and



4
  James Rundle, Hackers Broke Into Change Healthcare’s Systems Days Before Cyberattack,
Wallstreet Journal (April 22, 2024) https://www.wsj.com/articles/change-healthcare-hackers-
broke-in-nine-days-before-ransomware-attack-7119fdc6 (last accessed July 16, 2024) (“Between
Feb. 12 and when the ransomware was detonated on Feb. 21, the hackers were moving laterally
within Change’s network … The length of time the attackers were in the network suggests they
might have been able to steal significant amounts of data from Change’s systems.”).
5
  Change Healthcare cyberattack was due to a lack of multifactor authentication, UnitedHealth CEO
says, Associated Press News (May 1, 2024) https://apnews.com/article/change-healthcare-
cyberattack-unitedhealth-senate-9e2fff70ce4f93566043210bdd347a1f (last accessed June 28, 2024).
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prior authorizations. Without these crucial systems, J&B was barred from receiving any

compensation for its services to patients and further prevented J&B from providing goods and

services to its customers thereby permanently depriving J&B from the ability to realize revenue

and causing other harm to J&B. The systems remained disconnected throughout most of March

causing major disruptions to J&B’s business operation and preventing J&B from making millions

of dollars of sales and realizing the profit off of those lost sales.

        27.     Defendants did not inform J&B of the cyberattack until after J&B lost access to

Change’s services.

        28.     On or around March 1, 2024, Defendants tendered a $22,000,000 ransom payment

to the threat actors in exchange for a decryption key and promise to delete sensitive data.

        29.     J&B reported the incident to Travelers on March 1, 2024.

        30.     As a result of the disruption, J&B’s operations were crippled starting on February

21, 2024. J&B had thousands of orders for which it could not confirm insurance eligibility, and

as a result, could not process or ship orders for prescriptions and medical equipment. J&B’s cash

collections came to a halt as millions of dollars owed to it could not be transmitted through

Change’s systems. As a Tier-1 Provider, J&B’s customers did not have alternative means of

obtaining prescriptions and medical equipment.

        31.     J&B and its internal IT group worked around the clock to isolate workarounds

and applied for financial relief through Optum’s Temporary Funding Assistance Program.

        32.     The disruption to J&B’s business was the direct result of Defendants’ failure to

implement and follow basic data security procedures, inter alia, multi-factor authentication.

        33.     The FTC treats the failure to employ reasonable and appropriate measures to

protect against unauthorized access to confidential consumer data an as unfair act or practice



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prohibited by Section 5(a) of the Federal Trade Commission Act, 15 U.S.C. § 45.

        34.      Defendants were also covered by HIPAA (see 54 C.F.R. § 160.102) and are

therefore required to comply with the HIPAA Privacy Rule and Security Rule, 45 C.F.R. Part

160 and Part 164, Subparts A and E (“Standards for Privacy of Individually Identifiable Health

Information”).

        35.      Although the Defendants’ businesses involve the handling of highly sensitive data,

Defendants implemented inadequate data security practices that they knew or should have known

put their client and their client’s customers at risk of having their PII and PHI exposed, especially

as a leading healthcare technology company and purported expert in the field. Defendants knew

or should have known that any cyberattacks meant to obtain PII and PHI would also lead to

disruptions of services they offered to J&B.

        36.      On March 4, 2024, J&B provided a notarized proof of loss claiming in excess of

$5,000,000 as a result of the disruption.

        37.      On March 4, 2024, J&B submitted to Travelers a notarized proof of loss claiming

a loss in excess of $5,000,000 as a result of the disruption. Travelers reviewed the claim,

determined coverage was available and made payment to J&B under the Policy.



                                     CLAIMS FOR RELIEF
                                    COUNT I – NEGLIGENCE
                                     (Against All Defendants)
        38.      Travelers hereby restates the averments contained in the foregoing paragraphs of

this complaint as if fully set forth herein.


        39.      At all times herein relevant, Defendants owed J&B a duty of care, inter alia, to

act with reasonable care to secure and safeguard their computer systems and networks.


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       40.        These systems, inter alia, included claims processing, revenue cycle services,

payment processing services, of which Defendants owed J&B a duty to act with reasonable care

to safeguard so that claims and revenue would be processed on time and for the correct amounts.


       41.        Defendants owed a duty of care to not subject J&B to an unreasonable risk of harm

because J&B was the foreseeable and probable victim of any inadequate security practices.


       42.        Defendants owed J&B a duty of reasonable care to preserve and protect the

information being stored, transferred, and secured and to ensure that Change’s payment

processing and other services stayed operational and did not experience extended outages or

unavailability.


       43.        This duty included, inter alia, maintaining and testing Change’s security systems

and computer networks, implementing training and other protocols and procedures to guard

against cyberattacks, and taking other reasonable security measures to safeguard and adequately

secure its systems form unauthorized access and use.


       44.        Defendants knew or should have known of the vulnerabilities of their data

security systems and the importance of adequate security. Defendants knew or should have

known about numerous well-publicized data breaches.


       45.        Defendants knew or should have known that its data systems and networks did not

adequately safeguard the claims processing and revenue cycle services.


       46.        Because Defendants knew that any breach to its system could result in damage to

numerous customers, including J&B, Change had a duty to adequately protect its data systems.


       47.        Defendants breached their duty to J&B by failing to provide fair, reasonable, or

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adequate computer systems and data security practices to safeguard the services they provided to

J&B.


       48.     Defendants consistently ignored standards encompassed in the NSIT

Cybersecurity Framework Version 1.1 and CIS CSC, which are accepted industry standards.


       49.     J&B’s willingness to entrust Defendants with its processing needs was predicated

on the understanding that Defendants take adequate security precautions.


       50.     As Defendants’ systems also collected patient PII and PHI, Defendants also had

independent duties under federal and state law to ensure that their systems were secure and to

promptly notify customers, like J&B, of the Data Breach.


       51.     Defendants’ willful failure to abide by its duties was wrongful, reckless, and/or

grossly negligent in light of the foreseeable risks and known threats.


       52.     As a proximate and foreseeable result of Defendants’ grossly negligent conduct,

J&B has suffered damages and is at imminent risk of additional harm and damages.


       53.     Additionally, the law imposes an affirmative duty on Defendants to timely

disclose the unauthorized access as well as their intention to completely shut down their systems,

which, inter alia, resulted in J&B’s inability to process claim correctly and/or timely.


       54.     Defendants breached their duty to notify J&B of the unauthorized access by

waiting an unreasonably long period of time after learning of the Data Breach to notify J&B and

then by failing to provide J&B with sufficient information regarding the breach.


       55.     Further, through their failure to provide timely and clear notification of the Data

Breach to J&B, Defendants prevented J&B from taking meaningful, proactive steps to secure

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processing needs which caused injury to J&B.


       56.     There is a close causal connection between Defendants’ failure to implement

security measures to protect J&B’s processing requirements.


       57.      Defendants’ wrongful actions, inactions and omissions constituted and continue

to constitute common law negligence.


       58.     The damages J&B has suffered, as alleged above, and will continue to suffer, were

and are the direct and proximate result of Defendants’ grossly negligent conduct.


       59.     Additionally, 15 U.S.C. § 45 (FTC Act, Section 5) prohibits “unfair [...] practices

in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair act or

practice by businesses, such as Defendants, of failing to use reasonable measures to protect PII

like the processing of confidential claims.


       60.     Furthermore, Defendants are HIPAA covered business associations that provide

services to various healthcare providers. As a regular and necessary part of its business,

Defendants collect and stores highly sensitive PHI of its clients’ patients. Defendants have a duty

under federal law to maintain the strictest confidentiality of the patient’s PHI that they acquire,

receive, and collect, and Defendants are further required to maintain sufficient safeguards to

protect that PHI from being accessed by unauthorized third parties.


       61.      Defendants violated 15 U.S.C. § 45 and HIPAA by failing to use reasonable

measures to protect PII and PHI like the processing of confidential claims and not complying

with applicable industry standards, as described in detail herein. Defendants’ conduct was

particularly unreasonable given the nature and amount of PII and PHI obtained and stored and


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the foreseeable consequences of the immense damages that would result to J&B.


        62.     Defendants breached their duty to J&B by implementing unreasonable data

security measures and by failing to keep data security as a top priority despite understanding and

writing about the risk of data breached involving highly sensitive data and touting their own

security capabilities.


        63.     Defendants were fully capable of preventing the Data Breach. Change, as

sophisticated and experienced technology companies, knew of data security measures required

or recommended by the FTC, and other data security experts which, if implemented, would have

prevented the Data Breach from occurring at all, or limited the scope and depth of the Data

Breach. Defendants thus failed to take reasonable measures to secure its system, creating

vulnerability to a breach.


        64.     J&B is a consumer within the class of persons that 15 U.S.C. § 45 and HIPAA

were intended to protect.


        65.     Moreover, the harm that has occurred is the type of harm that 15 U.S.C. § 45 and

HIPAA were intended to guard against. The FTC has pursued many enforcement actions against

businesses which, as a result of their failure to employ reasonable data security measures and

avoid unfair and deceptive practices, caused the same harm suffered by J&B.


        66.     Defendants’ violation of 15 U.S.C. § 45 and HIPAA constitutes negligence per

se.


        67.     Defendants knew they were an attractive target for cyber criminals, particularly in

light of data breaches experienced throughout the United States. The Data Breach was reasonably


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foreseeable given the known high frequency of ransomware attacks and data breaches.


       68.     J&B was the foreseeable victim of Defendants’ inadequate and ineffectual

cybersecurity. The natural and probable consequences of Defendants’ failure to adequately secure

their information networks was a disruption in the services upon which Defendants knew that

J&B and J&B’s patients relied.


       69.     There is a close connection between Defendants’ failure to employ reasonable

security protections for its systems and the injuries suffered by J&B. Defendants’ vulnerability

to cyberattacks resulted in their system being taken down and the inability of J&B to access

necessary services.


       70.     As a direct and proximate result of Defendants’ negligence and negligence per se,

J&B has suffered damages, including¸ inter alia, missed payments and out-of-pocket expenses

associated with (i) disruption and interruption of its business and healthcare services to its

patients, (ii) the failure to receive payments for the services rendered to its patients, (iii) costs

associated with workarounds during the period that Change’s services were down, (iv) notifying

patients of the Data Breach, and (v) late penalties assessed for untimely payments of expenses.

Further, J&B’s damages include the time and effort spent finding workarounds during the period

in which Change’s systems were down and the time and effort spent researching and training on

new healthcare payment software. The damages suffered by J&B continue and will result in other

economic and non-economic losses.


       71.     Travelers has paid J&B’s insurance claim based on Defendants’ actions and now

seek reimbursement for such actions. Travelers will have to pay additional insurance claims on

behalf of other policyholders because of Defendants’ actions.


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                              COUNT II – BREACH OF CONTRACT
                                 (Against Change Healthcare)
        72.     Travelers hereby restates the averments contained in the foregoing paragraphs of

this complaint as if fully set forth herein.


        73.     Acting in the ordinary course of business, Change contracts with healthcare

providers, like J&B, to provide its services. Its services allows Change to, inter alia, act as a

middleman between healthcare providers and insurance companies. Healthcare providers submit

insurance claims though the Change Platform, which Change sends to the insurance companies.

After evaluation and processing, insurance companies then pay the healthcare providers.


        74.     J&B paid for Change’s services.


        75.     In return for J&B’s payment, Change promised that J&B would have access and

be permitted to use its services.


        76.     In February 2024, following the Data Breach, Change disconnected its services –

thereby severing J&B’s access and use of the services and breaching its contractual obligations.


        77.     As a direct and proximate result of Change’s breach, J&B sustained actual losses

and damages. J&B alternatively seeks an award of nominal damages.


        78.     As a direct and proximate result of Change’s breach, J&B sustained actual losses,

lost profits, and damages in an amount to be proven at trial. J&B seeks an award of nominal

damages in the alternative.


        79.     Change also breached certain terms in its contract regarding protection of PII

acquired during the course of performance of the contract. These terms required Change to, inter

alia, timely report data breaches to J&B, have adequate safeguards to protect PII, and to

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implement technical safeguards that reasonably and appropriately protect the confidentiality,

integrity, and availability of PII.


        80.     Travelers has paid J&B’s insurance claim based on Defendants’ actions and now

seek reimbursement for such actions. Travelers will have to pay additional insurance claims on

behalf of other policyholders because of Defendants’ actions.

                      COUNT III – BREACH OF IMPLIED CONTRACT
                                  (Against All Defendants)
        81.     Travelers hereby restates the averments contained in the foregoing paragraphs of

this complaint as if fully set forth herein.


        82.     Through each’s course of conduct, Defendants and J&B entered into implied

contracts for Defendants to implement data security adequate to safeguard and protect services,

including claims processing and revenue cycle service materials, provided to J&B.


        83.     Defendants required J&B to provide and entrust J&B’s claims processing and

revenue cycle service materials as a condition of obtaining Change’s services.


        84.     Defendants solicited and invited J&B to provide its claims processing and revenue

cycle service materials as part of Defendants’ regular business practices. J&B accepted

Defendants’ offer and provided its claims processing materials to Defendants.


        85.     J&B provided and entrusted its claims processing and revenue services materials

to Defendants. In doing so, J&B entered into implied contracts with Defendants by which

Defendants agreed to ensure that J&B’s processing materials would not be defective or

compromised.


        86.     A meeting of the minds occurred when J&B agreed to, and did, provide its claims

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processing and revenue cycle services materials to Defendants, in exchange for, inter alia, the

protection of its materials.


        87.     J&B fully performed its obligations under the implied contracts with Defendants.


        88.     Defendants’ breaches caused economic and non-economic harm.


        89.     Travelers has paid J&B’s insurance claim based on Defendants’ actions and now

seek reimbursement for such actions. Travelers will have to pay additional insurance claims on

behalf of other policyholders because of Defendants’ actions.

                           COUNT IV – BREACH OF CONFIDENCE
                                  (Against All Defendants)
        90.     Travelers hereby restates the averments contained in the foregoing paragraphs of

this complaint as if fully set forth herein.


        91.     During J&B’s interactions with Defendants, Defendants were fully aware of the

important and confidential nature of the processing materials that J&B provided them.


        92.     As alleged herein and above, Defendants’ relationship with J&B was governed by

promises and expectations that J&B’s claims processing and revenue cycle service materials

would be kept in confidence, and would not be accessed by, acquired by, appropriated by,

disclosed to, encumbered by, exfiltrated by, released to, stolen by, used by, and/or viewed by

unauthorized third parties.


        93.     Defendants provided their respective claims processing and revenue cycle services

to J&B with the explicit and implicit understandings that Defendants would protect and not permit

the materials to be accessed by, acquired by, appropriated by, disclosed to, encumbered by,

exfiltrated by, released to, stolen by, used by, and/or viewed by unauthorized third parties.

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           94.   J&B also provided its claims processing and revenue cycle services materials to

Defendants with the explicit and implicit understanding that Defendants would take precautions

to protect those materials from unauthorized access, acquisition, appropriation, disclosure,

encumbrance, exfiltration, release, theft, use, and/or viewing, such as following basic principles

of protecting its networks and data systems and ensuring that claim payments related to materials

would be promptly paid and satisfied.


           95.   Due to Defendants’ failure to prevent, detect, and avoid the Data Breach from

occurring, inter alia, not following best information security practices to secure J&B’s claim

processing, J&B’s materials were encumbered by and, not able to be used by J&B in the manner

expected.


           96.   As a direct and proximate cause of Defendants’ actions and/or omissions, J&B has

suffered damages, as alleged herein.


           97.   But for Defendants’ failure to maintain and protect J&B’s claims processing and

revenue cycle service materials in violation of the parties’ understanding of confidence, its

material would not have been accessed by, acquired by, and/or viewed by unauthorized third

parties.


           98.   The injury and harm J&B suffered, and will continue to suffer, was the reasonably

foreseeable result of Defendants’ unauthorized misuse of J&B’s materials. Defendants knew their

data systems and protocols for accepting and securing J&B’s materials had security and other

vulnerabilities that placed J&B’s materials in peril.


           99.   Travelers has paid J&B’s insurance claim based on Defendants’ actions and now

seek reimbursement for such actions. Travelers will have to pay additional insurance claims on

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behalf of other policyholders because of Defendants’ actions.

                 COUNT V – BREACH OF THE IMPLIED COVENANT OF
                         GOOD FAITH AND FAIR DEALING
                              (Against All Defendants)
        100.    Travelers hereby restates the averments contained in the foregoing paragraphs of

this complaint as if fully set forth herein.


        101.    Every contract includes an implied covenant of good faith and fair dealing. This

implied covenant is an independent duty and may be breached even if there is no breach of a

contract’s actual and/or express terms.


        102.    J&B has complied with and performed all conditions of its contracts with

Defendants.


        103.    Defendants Breached the implied covenant of good faith and fair dealing by failing

to maintain adequate computer systems and data security practices and to process claims and

services in a timely and safe manner as a result of the Data Breach.


        104.    Defendants knew or should have known of the vulnerabilities of the systems that

were exploited in the Data Breach.


        105.    Defendants acted in bad faith and/or with malicious motive in denying J&B the

full benefit of its bargain as originally intended by the parties, thereby causing J&B damages in

an amount to be determined at trial.


        106.    Travelers has paid J&B’s insurance claim based on Defendants’ actions and now

seek reimbursement for such actions. Travelers will have to pay additional insurance claims on

behalf of other policyholders because of Defendants’ actions.



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                        COUNT VI – BREACH OF FIDUCIARY DUTY
                                 (Against All Defendants)
        107.    Travelers hereby restates the averments contained in the foregoing paragraphs of

this complaint as if fully set forth herein.


        108.    In light of the special relationship between Defendants and J&B, whereby

Defendants became the guardian of J&B’s claim processing materials, Defendants became a

fiduciary by their undertaking and guardianship of materials to act primarily for the benefit of

J&B.


        109.    Defendants have a fiduciary duty to act for the benefit of J&B upon matters within

the scope of its relationship with J&B – in particular, to keep its claims processing and revenue

cycle service materials secure.


        110.    Defendants breached their fiduciary duties to Policyholders by failing to diligently

discover, investigate, and give notice of the Data Breach in a reasonable and practicable period of

time.

        111.    Defendants breached their fiduciary duties to J&B by failing to encrypt and

otherwise protect the integrity of the systems containing J&B’s claims processing and revenue

cycle service materials.


        112.    Defendants breached their fiduciary duties to J&B when it pulled the plug on the

services upon which J&B relied.


        113.    Defendants breached their fiduciary duties to J&B when they failed to timely

notify and/or warn J&B of the Data Breach and its intent to completely disconnect its system.


        114.    As a direct and proximate result of Defendants’ breaches of their fiduciary duties,

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J&B has suffered and will continue to suffer injuries.


        115.    Travelers has paid J&B’s insurance claim based on Defendants’ actions and now

seek reimbursement for such actions. Travelers will have to pay additional insurance claims on

behalf of other policyholders because of Defendants’ actions.

                         COUNT VI – DECLARATORY JUDGMENT
                                (Against All Defendants)
        116.    Travelers hereby restates the averments contained in the foregoing paragraphs of

this complaint as if fully set forth herein.


        117.    Under the Declaratory Judgement Act, 28 U.S.C. §§ 2201, et. seq., this Court is

authorized to enter a judgment declaring the rights and legal relation of the parties and grant

further necessary relief. Furthermore, this Court has broad authority to restrain acts, such as those

alleged herein, which are tortious, and which violate the terms of the federal described above.


        118.    An actual controversy has arisen in wake of the Data Breach at issue regarding

Defendants’ common law and other duties to act reasonably with respect to safeguarding its

systems so that J&B could utilize its services. Travelers, as subrogee and assignee of J&B, alleges

that Defendants’ actions in this respect were inadequate and unreasonable and, upon information

and belief, remain inadequate and unreasonable. Additionally, J&B continues to suffer injury due

to the continued and ongoing threat of additional delays and disruptions of its business and

healthcare services to its patients.


        119.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

enter a judgment declaring, inter alia, the following:




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               a.      Defendants owed, and continues to owe, a legal duty to provide accurate

                       and timely payments services for J&B to submit claims and be paid;

               b.      Defendants’ failure to properly secure their computer systems has caused

                       J&B’s processing and payment of health claims to halt, disrupting its

                       business operations;

               c.      Defendants owed, and continues to owe, a legal duty to secure the sensitive

                       information with which they are entrusted, and to notify J&B and its

                       customers of the Data Breach under common law, HIPAA, and Section 5 of

                       the FTC Act;

               d.      Defendants breached, and continues to breach, their legal duty by failing to

                       employ reasonable measures to secure J&B and its customers’ personal and

                       financial information; and

               e.      Defendants’ breach of their legal duties continues to cause harm to J&B.


       120.    This Court should also issue corresponding injunctive relief requiring Defendants

to employ adequate security protocols consistent with industry standards to protect J&B’s data.


       121.    If an injunction is not issued, J&B will suffer irreparable injury and lack an

adequate legal remedy in the event of another breach of Defendants’ data system. If another

breach of Defendants’ data system occurs, J&B will not have an adequate remedy at law because

many of the resulting injuries are not readily quantified in full, and J&B will be forced to bring

multiple lawsuits to rectify the same conduct. Monetary damages, while warranted to compensate

J&B for its out-of-pocket expenses and other damages that are legally quantifiable and provable,

do not cover the full extent of the injuries suffered by J&B.



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        122.    The hardship to J&B if an injunction is not issued exceeds the hardship to

Defendants if an injunction is issued. J&B will likely be subjected to further monetary harm and

other damages. On the other hand, the cost to Defendants of complying with an injunction by

employing reasonable prospective data security measures is relatively minimal, and Defendants

has a pre-existing legal obligation to employ such measures.


        123.    Issuance of the requested injunction will not disserve the public interest. On the

contrary, such an injunction would benefit the public by preventing another data breach, thus

eliminating injuries that resulted to J&B and the public at large.


                            COUNT VII – UNJUST ENRICHMENT
                               (Against Change Healthcare)
        124.    Travelers hereby restates the averments contained in the foregoing paragraphs of

this complaint as if fully set forth herein.

        125.    Travelers brings this count in the alternative to its legal claims and lacks an

adequate remedy at law.

        126.    Upon information and belief, Change funds its data-security measures entirely

from their general revenue, including payments made by or on behalf of J&B.

        127.    As such, a portion of the payments made by or on behalf of J&B is to be used to

provide a reasonable level of data security, and the amount of each payment allocated to data

security is known to Defendants.

        128.    J&B conferred a monetary benefit on Change by paying money for services

rendered. Specifically, they purchased goods and services from Change and/or their agents and

provided Defendants with their claims processing and revenue cycle service materials. In

exchange, J&B should have received from Change the goods and services that were the subject


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of the transaction and have their processing and service materials protected with adequate data

security.

       129.    Change appreciated and knew that J&B conferred a benefit which Change

accepted. Defendants profited from these transactions and used the claims processing and revenue

cycle service materials of Policyholders for business purposes.

       130.    In exchange for receiving J&B’s money, thereby providing Change with a

commercial benefit, Change was obligated to supply J&B with access to and use of its payment

processing and other services. Change reneged on its obligation when it deactivated those services

in response to the Data Breach.

       131.    Change was aware or should have been aware that reasonable consumers would

have wanted the services that they had paid for provided and would not have contracted with

Change, directly or indirectly, had they known that Change’s services and systems were

substandard.

       132.    Change was also aware of the substandard condition of and vulnerabilities in its

information systems, and knew that of said condition and vulnerabilities were disclosed, then

they would negatively affect J&B’s decision to seek goods and/or services therefrom.

       133.    Change failed to disclose facts pertaining to its substandard information systems

relating to defects, vulnerabilities, and the fact that the entire system could be shut down as a

result of being substandard before J&B made its decision to make purchases, engage in commerce

therewith and seek goods and/or services or information. Instead, Change concealed such

information. By concealing that information, Change denied J&B the ability to make rational and

informed purchasing decisions and took undue advantage of J&B.

       134.    Change enriched themselves by saving the costs it reasonably should have



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expended in data-security measures to secure J&B’ claims processing materials. Instead of

providing a reasonable level of security that would have prevented the hacking incident, Change

instead calculated to increase their own profits at the expense of J&Bs.

        135.    Equity and good conscious forbid retention by Change of the financial benefits it

obtained from J&B under these circumstances.

        136.    Change was unjustly enriched at the expense of J&B. Change received profits,

benefits, and compensation, in part, at the expense of J&B. By contrast, J&B did not receive the

benefit of its bargain because it paid for services that did not satisfy the purpose for which it

bought them.

        137.    Since Change’s profits, benefits, and other compensation were obtained by

improper means, Change is not legally or equitably entitled to retain any of the benefits,

compensation or profits it realized from these transactions.

        138.    As a result of Change’s wrongful conduct, Travelers, as subrogee and assignee of

J&B, seeks an Order of this Court requiring Change to refund, disgorge and pay as restitution any

profits, benefits, and other compensation obtained by Change from its wrongful conduct and/or

the establishment of a constructive trust from which Travelers may seek restitution.

                              DEMAND FOR A TRIAL BY JURY

        Travelers respectfully requests a trial by jury for all claims and issues in its Complaint to

which it is or may be entitled to a trial by jury.

                                          PRAYER FOR RELIEF

        WHEREAS, PREMISES CONSIDERED, Travelers prays for the following relief:

        a.      For an Order finding in favor of Travelers as subrogee and assignee of J&B on all

                counts asserted herein.



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      b.     For damages, including lost profits, actual, nominal, and consequential damages,

             as allowed by law in an amount to be determined by the trier of fact;

      c.     Declaratory and injunctive relief as described herein;

      d.     Awarding Travelers’s reasonable attorney’s fees, costs, and expenses;

      e.     Awarding pre- and post-judgment interest on any amount awarded; and

      f.     For all other Orders, findings, and determinations identified and sought in this

             Complaint.

      g.     Awarding such other and further relief as may be just and proper.



      This 20th day of February, 2025.

                                                   Respectfully submitted,

                                                    /s/ Jeffrey S. Price
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